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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 06-cr-79-04-PB

Dorothy Collins, Patrick Shiner,
Keith Samson and Bylinda Floyd


                               O R D E R


     Defendant, Bylinda Floyd, through counsel, has moved to

continue the July 6, 2006 trial in the above case, citing the

need for additional time to complete discovery and prepare a

defense.   The government does not object to a continuance of the

trial date, though co-defendant Dorothy Collins has filed an

objection.

     In order to allow the parties additional time to complete

discovery and properly prepare for trial, the court will continue

the trial from July 6, 2006 to October 3, 2006.             In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(8)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best
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interests of the public and the defendants in a speedy trial.

      The June 27, 2006 final pretrial conference is continued

until September 19, 2006 at 3:30 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

June 26, 2006

cc:   Paul Pappas, Esq.
      Michael Ramsdell, Esq.
      Michael Shklar, Esq.
      Richard Monteith, Esq.
      Debra Walsh, AUSA
      United States Probation
      United States Marshal




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